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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA


PATRICIA DALTON OHLE, ET AL.                                     CIVIL ACTION

VERSUS                                                           NUMBER: 12-1324

BANK ONE CORPORATION, ET AL.                                     SECTION: “J” (3)



                                     JUDGMENT


       Considering the Court's Minute Entry dated August 1, 2012, filed herein,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that there be

judgment in favor of the Defendants, and against Plaintiffs, dismissing Plaintiffs’ claims

without prejudice for improper venue, and at Plaintiffs’ cost.

       New Orleans, Louisiana, this 17th day of August, 2012.




                                                UNITED STATES DISTRICT JUDGE
